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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA

In re:                                                                     Case No. 21-40882
Jeffrey Scott Cates and Christine Therese Cici-Cates,                               Chapter 11
Debtors.

                  ORDER DENYING MOTION FOR RELIEF FROM STAY


         This case is before the court on May 16, 2023 on the motion of Ally Bank (“Movant”)

seeking relief from the automatic stay of section 362(a) of the Bankruptcy Code respecting a

2015 Lincoln MKC, VIN: 5LMTJ2AH5FUJ34734. Appearances were made at the hearing by

Brad Welp for the Movant and Kenneth Edstrom for the Debtors. Based on the record,


         IT IS ORDERED:

    1. The Motion is DENIED as the stay is no longer in effect as discussed on the record.




Dated: May 16, 2023
                                                        /e/William J. Fisher
                                                    _____________________________
                                                    William J. Fisher
                                                    United States Bankruptcy Judge
